
17 Mich. App. 351 (1969)
169 N.W.2d 515
PEOPLE
v.
SMILEY
Docket No. 4,595.
Michigan Court of Appeals.
Decided May 26, 1969.
Frank J. Kelley, Attorney General, Robert A. Derengoski, Solicitor General, Robert F. Leonard, Prosecuting Attorney, and Earle S. Clark, Assistant Prosecuting Attorney, for the people.
Harry S. Sherwin, for defendant.
BEFORE: LESINSKI, C.J., and QUINN and DANHOF, JJ.
PER CURIAM:
Defendant Donald Smiley was charged with sodomy[*] together with Chester Green *352 and Hosea Chappell. Green and Chappell were convicted by jury verdict and sentenced. Their convictions and sentences were affirmed by this Court on appeal in People v. Green (1968), 14 Mich App 250. Defendant waived jury trial and was convicted by the judge. His appeal raises 4 issues for appellate review, 3 of which are identical to issues raised in Green, supra. Green is dispositive of each of these 3 issues.
The remaining issue raised by defendant relates to the failure of the trial judge to give a timely jury instruction. This issue, however, has no applicability, as this was a nonjury trial.
Affirmed.
NOTES
[*]  CL 1948, § 750.158 (Stat Ann 1962 Rev § 28.355).

